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   1   DAVID F. CHERMOL, ESQUIRE
       Chermol and Fishman LLC
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   3   215-464-7200
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   4   Email: dave@ssihelp.us
       PRO HAC VICE
   5   Attorney for Plaintiff
   6                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   7                             EASTERN DIVISION
   8   RAFIA SULTANA FAROOK             ) Case No. ED CV 19-262-JGB-PLA
                                        )
   9             Plaintiff,             )
                                        ) ORDER
  10                                    )
                                        )
  11        v.                          )
                                        )
  12   ANDREW M. SAUL,                  )
       Commissioner of Social Security, )
  13                                    )
                 Defendant.             )
  14   ______________________________ )
  15                                        ORDER

  16         AND NOW, having considered Plaintiff’s Motion for Attorney’s Fees and
  17   any response thereto, it is hereby ORDERED that Plaintiff is awarded attorney fees
  18   under the Equal Access to Justice Act in the amount of $7,000.00 and costs in the
  19   amount of $400.00. Subject to any offset under the Treasury Offset Program,
  20   payment of this award shall be made via the Law Offices of Chermol & Fishman,
  21   LLC. If EAJA fees and costs are not subject to any offset and an assignment is
  22   /
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  25   /
  26   /
  27   /
  28   /
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   1   provided to SSA, the award shall be paid directly to the order of David F. Chermol.
   2   All checks must be mailed care of the Law Offices of Chermol and Fishman.
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   4   IT IS SO RECOMMENDED:
   5   DATED: January 13, 2020
                                                     Hon. Paul L. Abrams
   6                                                 United States Magistrate Judge
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   8   IT IS SO ORDERED:
   9   DATED: January 17, 2020
                                                     Hon. Jesus G. Bernal
  10                                                 United States District Judge
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